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    8                             UNITED STATES DISTRICT COURT
    9                            CENTRAL DISTRICT OF CALIFORNIA
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   11 CHRISTOPHER KEARNEY, NANCY                   CASE NO. SACV 09-1298-JST (MLGx)
        KEARNEY, CHARLES MOORE, and
   12
        SHARI MOORE,                               ORDER (1) GRANTING PLAINTIFFS’
   13                                              MOTION FOR CERTIFICATION OF
   14              Plaintiffs,                     A SETTLEMENT CLASS (Doc. 74), (2)
                                                   GRANTING JOINT MOTION FOR
   15        vs.                                   PRELIMINARY APPROVAL OF
   16                                              CLASS SETTLEMENT AND ORDER
        HYUNDAI MOTOR AMERICA,                     DIRECTING NOTICE TO THE CLASS
   17
                                                   (Doc. 73), AND (3) SETTING A
   18              Defendant.                      FAIRNESS HEARING FOR FRIDAY,
   19                                              JUNE 7, 2013, AT 2:30 P.M.

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    1      I. INTRODUCTION
    2         Plaintiffs Christopher Kearney, Nancy Kearney, Charles Moore, and Shari Moore
    3 (“Plaintiffs”) filed their Second Amended Complaint—the operative complaint—on July
    4 15, 2010, asserting claims for violation of California’s Consumers Legal Remedies Act
    5 (CLRA), California Civil Code §§ 1750, et seq.; violation of California’s Unfair
    6 Competition Law (UCL), California Business & Professions Code §§ 17200, et seq.;
    7 breach of express warranty, California Commercial Code § 2313; and breach of implied
    8 warranty of merchantability, California Commercial Code § 2314. (Second Am. Compl.
    9 (“SAC”), Doc. 30.) On August 17, 2012, Plaintiff filed a Motion for Certification of a
   10 Settlement Class (“Certification Motion”). (Certification Mot. (“Cert. Mot.”), Doc. 74.)
   11 Defendant Hyundai Motor America (“Defendant” or “Hyundai”) does not oppose the
   12 motion, subject to the Court’s final approval of a proposed settlement. (See Doc. 76.)
   13         Also before the Court is a Joint Motion for Preliminary Approval of Class
   14 Settlement and Order Directing Notice to the Class (“Settlement Motion”). (Settlement
   15 Mot. (“Settle Mot.”), Doc. 73.) The Certification Motion asks the Court to conditionally
   16 certify the settlement class, while the Settlement Motion asks the Court to preliminarily
   17 approve the proposed settlement (“Settlement Agreement”) and approve the form and
   18 method of class notice, including the setting of relevant dates. Having considered the
   19 papers and the arguments of counsel at the hearing, the Court GRANTS Plaintiffs’
   20 Certification Motion, GRANTS Preliminary Approval of the Class Settlement, and sets a
   21 fairness hearing for June 7, 2013, at 2:30 p.m.
   22
   23      II. BACKGROUND
   24          This case concerns an alleged design defect in the Occupant Classification
   25 Systems (“OCS”) of 2006-2009 model year Hyundai vehicles. (See SAC ¶ 1.) Hyundai’s
   26 OCS is part of the advanced air bag system of its vehicles. (Id. ¶ 19.) It is an automatic
   27 suppression feature that turns off a vehicle’s front passenger seat air bag system when it
   28 determines that the front passenger seat is occupied by a child-sized occupant, a child seat,

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    1 or is unoccupied. Thus, if the OCS determines that a person of adult size does not occupy
    2 the front passenger seat, it turns off the passenger-side air bag and illuminates the
    3 “PASSENGER AIR BAG OFF” light, which informs passengers that the air bag will not
    4 deploy. (Id.) Plaintiffs allege that Hyundai’s OCS does not consistently recognize persons
    5 of small-stature-adult size, (id. ¶ 23), and that the OCS design causes the passenger-side air
    6 bag not to deploy in the event of an accident when such persons occupy the front passenger
    7 seat. (Id. ¶¶ 23- 24.)
    8         The vehicle models at issue in this case are covered by the same express warranty
    9 from Hyundai, which generally applies to repair or replacement of a component that is
   10 found to be defective in material or workmanship under normal use and maintenance. (Id.
   11 ¶¶ 128, 135.) The express warranty extends to 60 months from the date of purchase or
   12 60,000 miles, whichever occurs first. (Id.) Owners of various 2006-2009 model-year
   13 Hyundai vehicles allegedly complained on Internet forums and to the National Highway
   14 Traffic Safety Administration (“NHTSA”) that the OCS did not correctly sense the
   15 presence of persons of small-stature-adult-size in the front passenger seat. (Id. ¶¶ 27-55.)
   16         On April 1, 2008, Hyundai notified NHTSA that it was initiating voluntary recalls
   17 of Hyundai Sonatas model years 2006 through 2008 produced from March 1, 2005, to
   18 January 11, 2008 (the “Recall Campaign”). (Id. ¶ 57.) Pursuant to the recall, dealers were
   19 to remove the passenger seat cushion and send it to an evaluation and repair facility, which
   20 would repair or reprogram the seat cushion as necessary. (Id. ¶ 58.) On May 30, 2008,
   21 Hyundai sent a Technical Service Bulletin (“TSB”) to all dealers regarding the air bag
   22 reprogramming. (Id. ¶ 59.) Initially, the reprogramming was to be performed only after
   23 verification that the OCS was not working properly, but in November 2008, Hyundai sent
   24 a recall notice to all Sonata owners stating that the OCS could be reprogrammed at the
   25 customer’s request. (Id. ¶¶ 59-61.) Plaintiffs alleged that the repair associated with the
   26 recall did not completely address the OCS issues. (Id. ¶¶ 63-71.) During settlement
   27 negotiations, the parties executed a term sheet in which Hyundai agreed to expand the
   28 recall to include the Santa Fe vehicle. (Settle Mot. at 6.)

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    1          Plaintiffs filed the putative class action complaint against Hyundai and Hyundai
    2 Motor Company—who is not a party in the operative complaint—on November 6, 2009.
    3 After a round of motions to dismiss, Plaintiffs ultimately filed their operative complaint,
    4 the SAC, on July 15, 2010, in which they reasserted CLRA, UCL, and breach of express
    5 warranty claims, and further asserted breach of the implied warranty of merchantability
    6 and revocation of acceptance claims. Hyundai moved to dismiss the SAC in its entirety.
    7 In its December 17, 2010 Order, the Court granted in part and denied in part the motion.
    8 (Order, Doc. 46.) The Court dismissed Plaintiffs’ revocation-of-acceptance claim and the
    9 breach of express warranty claim insofar as it was based on Hyundai’s Owner’s Manuals,
   10 “ebrochures,” Air Bag Safety Booklet, window stickers, and advertising. Otherwise, the
   11 Court denied the motion to dismiss as to the other claims. (Id. at 14; 18.)
   12          Thereafter, Hyundai filed its Answer to the SAC, and the parties engaged in
   13 discovery. The parties represent in their Settlement Motion that discovery materials
   14 showed that the incidence of complaints concerning the operation of the OCS was very
   15 low generally, as measured by complaints to NHTSA in the form of Vehicle Owners’
   16 Questionnaires. On August 15, 2012, the parties executed a class-action settlement
   17 agreement (“Settlement Agreement”). (Settle Mot. Ex. 1 (“Settlement Agreement”), Doc.
   18 73-2.)
   19          The parties’ Settlement Agreement proposes certification of the following
   20 nationwide class:
   21
               All Persons residing in one of the fifty states or the District of Columbia who
   22          are currently registered as the owner of (1) a Model Year 2006-2008 Sonata
   23          vehicle; (2) a Model Year 2007-2009 Santa Fe vehicle produced between
               April 19, 2006 through July 7, 2008; or (3) a Model Year 2006-2009 Azera
   24          vehicle, except that the following are excluded: (i) government entities; (ii)
               federal court judges assigned to this case and their spouses and anyone within
   25
               three degrees of consanguinity from those judges and their spouses; and (iii)
   26          Persons who have previously executed a release of HMA [Hyundai], which
               release includes a claim of defective design of the Occupant Classification
   27          Systems at issue in this case.
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    1 (Settlement Agreement ¶ 2.1.)
    2         Under the proposed settlement, Hyundai will mail each class member a pamphlet
    3 describing the purpose of the OCS and its operation. The pamphlet is purportedly intended
    4 to help class members “optimize their experience with the OCS in their vehicles.” The
    5 pamphlet will advise them: (1) with respect to correct seating positions; and (2) that the
    6 OCS is designed to favor protecting children. (Id. ¶ 4.1.3.) Owners of Sonata Vehicles
    7 upon which the OCS recalibration has not already been performed will also receive a letter
    8 advising them of the available recalibration of the OCS. (Id. ¶ 3.1.1.1.)
    9         As for the Santa Fe, pursuant to a term sheet executed by the Parties, Hyundai
   10 agreed to launch a service action in which it would provide notice to each owner of a Santa
   11 Fe Vehicle to bring his or her vehicle to an authorized dealer for incorporation of the
   12 updated Santa Fe Vehicle OCS calibration software. (Id. ¶ 3.1.2.1.) After the execution of
   13 the term sheet, Hyundai voluntarily decided to make this OCS recalibration available to
   14 each owner of a Santa Fe Vehicle through a recall rather than a service action. (Pursuant
   15 to 49 C.F.R. § 573.6(b), Hyundai was required to notify NHTSA of its decision to conduct
   16 the campaign as a recall within five days of that determination.) Pursuant to this recall,
   17 Hyundai will provide notice to each Santa Fe Vehicle owner by first-class mail to bring his
   18 or her vehicle to an authorized dealer for incorporation of the updated Santa Fe Vehicle
   19 OCS calibration. (Id. ¶ 3.1.2.1.)
   20         Under the proposed settlement, Hyundai will mail to owners of Sonata Vehicles that
   21 were already incorporated in the Recall Campaign’s recalibration a sticker designed to be
   22 affixed to the inside of the glove box door advising future owners that the OCS has been
   23 recalibrated. (Id. ¶ 3.1.1.2.) Hyundai will also update the applicable TSB to reflect that
   24 Hyundai dealers performing the OCS recalibration on Sonata Vehicles should apply a
   25 sticker to the inside of the glove box door (unless the owner objects, in which case it
   26 should be applied to the Owner’s Manual) advising future owners that the OCS has been
   27 recalibrated. (Id. ¶ 3.1.1.3.)
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    1         The proposed settlement provides additional remedies for owners of certain Class
    2 Vehicles who remain unsatisfied with the OCS’s performance. For owners of Sonata
    3 Vehicles that have received the OCS recalibration, Santa Fe Vehicles that have received
    4 the updated OCS calibration, and all Azera Vehicles (“Eligible Vehicles”) who remain
    5 unsatisfied with the OCS’s performance, Hyundai will have 90 days to endeavor in good
    6 faith to resolve the concerns of those owners (“Eligible Vehicle Owners”), provided that
    7 they contact Hyundai’s Customer Connect Center within the later of: (a) 30 days after
    8 receiving the updated calibration or recalibration; or (b) 30 days following final approval
    9 of the class-action settlement. (Id. ¶¶ 4.1.1–4.1.3.) Hyundai’s efforts are to include
   10 educating the Eligible Vehicle Owner with respect to correct seating positions, the OCS’s
   11 compliance with federal safety standards, and the OCS’s design. (Id. ¶ 4.1.3.) If the
   12 Eligible Vehicle Owner’s concern remains unresolved and Hyundai believes that the
   13 Eligible Vehicle Owner has produced an adult passenger who (1) has previously been a
   14 passenger in the Eligible Vehicle; (2) weighs at least 108 pounds; and (3) is at least 16
   15 years old, and the OCS judges that the passenger does not require the activation of the air
   16 bag system consistent with the design of the OCS (indicated by the extinguishment of the
   17 “Passenger Air Bag Off” light) after at least one of three “key on” cycles (the “Eligibility
   18 Criteria”), Hyundai will offer to refund the purchase price of the Eligible Vehicle.
   19 Hyundai may also offer to exchange, and at the Eligible Vehicle Owner’s option will
   20 exchange, the Eligible Vehicle for another Hyundai model (the “Refund/Exchange
   21 Option”), subject to: (a) a mileage offset according to the Eligible Vehicle’s mileage on the
   22 date of the offer; (b) a 120,000-mile vehicle lifespan; and (c) vehicle damage other than
   23 ordinary wear (the “Refund/Exchange Conditions”). (See id. ¶ 4.1.4.) This formula is
   24 based on California’s Lemon Law, California Civil Code § 1793.2.
   25         Under the proposed settlement, if Hyundai is unwilling to give the Eligible Vehicle
   26 Owner the Refund/Exchange Option, and the concerns of the Eligible Vehicle Owner
   27 remain unresolved, the Eligible Vehicle Owner is entitled to initiate a proceeding before
   28 the Better Business Bureau or a similar entity by calling a toll-free number within thirty

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    1 days of the expiration of the ninety-day period Hyundai has to resolve his or her concerns.
    2 (Id. ¶ 5.1.) Hyundai is obligated to pay all fees imposed by the entity conducting the
    3 arbitration. (Id. ¶ 5.4.) Pursuant to the proposed settlement, if the arbitrator finds that an
    4 Eligible Vehicle meets the Eligibility Criteria, the Eligible Vehicle Owner is entitled to the
    5 Refund/Exchange Option, subject to the Refund/Exchange Conditions (except that the
    6 mileage offset is calculated based on the date of the arbitration). (Id. ¶ 5.2.)
    7         Under the Settlement Agreement, class members agree to release Hyundai from all
    8 claims that arise from or relate to this lawsuit. (Id. ¶ 10.1.) The release expressly excludes
    9 claims for personal injury, damage to property other than the class member’s vehicle, or
   10 any and all claims pertaining to anything other than the class member’s vehicle. (Id.) The
   11 Settlement Agreement proposes that Notice of this proposed settlement be disseminated to
   12 the Settlement Class by first-class mail. The Notice will be mailed to every class member
   13 whose current address is reasonably ascertained from an available R.L. Polk & Company
   14 database. (Id. ¶ 8.1.) Mailing will be completed at the sole expense of Hyundai. (Id.)
   15         The Settlement Agreement also provides that Hyundai will pay Plaintiffs’
   16 reasonable attorneys’ fees in an amount to be separately negotiated and approved by the
   17 Court. (See id. ¶¶ 9.1-9.5.) The parties assert that they did not discuss attorneys’ fees
   18 prior to or in connection with the execution of the Settlement Agreement. (Settle Mot. at 9-
   19 10.) Instead, they engaged in mediation on August 28, 2012, before the Honorable
   20 Stephen J. Sundvold (Ret.). (Notice of Parties’ Agreement on Attorneys’ Fees and
   21 Incentive Awards (“Fees Notice”) at 2, Doc. 75.) At the mediation, the parties agreed that
   22 Plaintiffs’ counsel will move this Court for an award of: (1) reasonable attorneys’ fees and
   23 expenses not to exceed a total sum of $993,000 (reflecting a multiplier of 1.0); (2)
   24 incentive payments totaling $10,000 for the four named Plaintiffs (i.e., $2,500 for each of
   25 the four named Plaintiffs). (Id.) Hyundai agreed to not oppose this award of attorneys’
   26 fees, expenses, and incentive payments. (Id.) In their Fees Notice, the parties also advised
   27 the Court that they would be filing an updated proposed Notice to Class, which would
   28 include the amounts of fees, expenses, and incentive payments, as well as updated

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    1 information and the settlement website. (Id.) The parties have now filed the updated
    2 proposed Notice to Class. (Joint Notice of Proposed Am. Class Notice, Doc. 78.)
    3
    4      III.   CONDITIONAL CERTIFICATION OF THE CLASS
    5          A. Legal Standard
    6          Plaintiffs request conditional certification of the class pursuant to Fed. R. Civ. P. 23.
    7 When conditionally certifying a class for settlement purpose, the court “must pay
    8 undiluted, even heightened, attention to class certification requirements.” Staton v. Boeing
    9 Co., 327 F.3d 938, 952 (9th Cir. 2003) (quoting Amchem Prods., Inc. v. Windsor, 521 U.S.
   10 591, 620 (1997)) (internal quotation marks omitted).
   11          “To obtain class certification, a class plaintiff has the burden of showing that the
   12 requirements of Rule 23(a) are met and that the class is maintainable pursuant to Rule
   13 23(b).” Narouz v. Charter Commc’ns, LLC, 591 F.3d 1261, 1266 (9th Cir. 2010). “Rule
   14 23(a) ensures that the named plaintiffs are appropriate representatives of the class whose
   15 claims they wish to litigate.” Wal-Mart Stores, Inc. v. Dukes, --- U.S. ---, 131 S. Ct. 2541,
   16 2550 (2011). “Under Rule 23(a), the party seeking certification must demonstrate, first,
   17 that”:
   18           (1) the class is so numerous that joinder of all members is impracticable, (2)
               there are questions of law or fact common to the class, (3) the claims or
   19          defenses of the representative parties are typical of the claims or defenses of
   20          the class, and (4) the representative parties will fairly and adequately protect
               the interests of the class.
   21
        Id. at 2548 (citing Fed. R. Civ. P. 23(a)). “Second, the proposed class must satisfy at least
   22
        one of the three requirements listed in Rule 23(b).” Id. Rule 23(b) is satisfied if:
   23
               (1) prosecuting separate actions by or against individual class members
   24
               would create a risk of:
   25              (A) inconsistent or varying adjudications with respect to individual
                   class members that would establish incompatible standards of conduct
   26              for the party opposing the class; or
   27              (B) adjudications with respect to individual class members that, as a
                   practical matter, would be dispositive of the interests of the other
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    1              members not parties to the individual adjudications or would
                   substantially impair or impede their ability to protect their interests;
    2         (2) the party opposing the class has acted or refused to act on grounds that
    3         apply generally to the class, so that final injunctive relief or corresponding
              declaratory relief is appropriate respecting the class as a whole; or
    4         (3) the court finds that the questions of law or fact common to class
              members predominate over any questions affecting only individual
    5
              members, and that a class action is superior to other available methods for
    6         fairly and efficiently adjudicating the controversy.
    7 Fed. R. Civ. P. 23(b). “Rule 23 does not set forth a mere pleading standard,” thus “[a]
    8 party seeking class certification must affirmatively demonstrate his compliance with the
    9 Rule—that is, he must be prepared to prove that there are in fact sufficiently numerous
   10 parties, common questions of law or fact, etc.” Dukes, 131 S. Ct. at 2551. This requires a
   11 district court to conduct a “rigorous analysis” that frequently “will entail some overlap
   12 with the merits of the plaintiff’s underlying claim.” Id.
   13         B. Requirements Under Rule 23(a)
   14             1. Numerosity
   15         Rule 23(a)(1) requires that the class be “so numerous that joinder of all members is
   16 impracticable.” Fed. R. Civ. P. 23(a)(1). “As a general rule, . . . classes of 40 or more are
   17 numerous enough.” Keegan v. Am. Honda Motor Co., 284 F.R.D. 504, 522 (C.D. Cal.
   18 2012); see also Harris v. Palm Springs Alpine Estates, 329 F.2d 909, 913-914 (9th Cir.
   19 1964) (“‘[i]mpracticability’ does not mean ‘impossibility,’ but only the difficulty or
   20 inconvenience of joining all members of the class.”) (internal quotation marks and citation
   21 omitted). Numerosity is plainly met as “hundreds of thousands” of vehicles covered by the
   22 proposed class were sold during the period covered by the class. (Cert. Mot. at 3.)
   23           2. Commonality
   24         Rule 23(a)(2) requires that “there are questions of law or fact common to the class.”
   25 Fed. R. Civ. P. 23(a)(2). “Commonality requires the plaintiff to demonstrate that the class
   26 members ‘have suffered the same injury.’” Dukes, 131 S. Ct. at 2551 (quoting Gen. Tel.
   27 Co. of Sw. v. Falcon, 457 U.S. 147, 157 (1982)). “This does not mean merely that they
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     1 have all suffered a violation of the same provision of law,” but instead that their claim(s)
     2 “depend upon a common contention . . . of such a nature that it is capable of classwide
     3 resolution—which means that determination of its truth or falsity will resolve an issue that
     4 is central to the validity of each one of the claims in one stroke.” Id. Although “for
     5 purposes of Rule 23(a)(2) even a single common question will do,” id. at 2556 (internal
     6 citation, quotation marks, and brackets omitted), “[w]hat matters to class certification is
     7 not the raising of common ‘questions’—even in droves—but, rather the capacity of a
     8 classwide proceeding to generate common answers apt to drive the resolution of the
     9 litigation.” Id. at 2551 (emphasis included).
   10           Plaintiff points to several common questions amenable to common proof in this
        litigation:
   11
   12          (1) whether the OCS is defective because it fails to detect the presence of
               persons of small-stature-adult size; (2) whether Hyundai misrepresented the
   13          OCS’s ability to determine the presence of persons of small-stature-adult size;
               (3) whether Defendant concealed the defective OCS design; (4) whether
   14
               Defendant breached express and implied warranties made to Plaintiffs and the
   15          Settlement Class by selling Hyundais with defective OCS in the advanced air
               bag systems; and (5) whether Defendant violated California law, including the
   16          Unfair Competition Law (“UCL”), Cal. Bus. & Prof. Code §§ 17200, et seq.
   17          and/or California’s Consumer Legal Remedies Act (“CLRA”), Cal. Civ. Code
               §§ 1750, et seq.
   18
        (Cert. Mot. at 4.) While Plaintiffs’ analysis of commonality is Spartan, commonality is
   19
        plainly met here because the focus of the litigation is the OCS—a system that is uniform
   20
        across the vehicles. (See SAC ¶ 6.) Thus, the determination of the OCS’s defects will
   21
        generate a common answer applicable to all class members. Moreover, Hyundai allegedly
   22
        failed to disclose material information about OCS across the class, including, inter alia,
   23
        that OCS would not function properly for persons of small-stature-adult size, and (2) that
   24
        OCS would prevent air bags from deploying when persons of small-stature-adult size sit in
   25
        the front passenger seat. (Id. ¶ 108.)
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     1            3. Typicality
     2          Rule 23(a)(3) requires “the claims or defenses of the representative parties [to be]
     3 typical of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “The typicality
     4 requirement looks to whether the claims of the class representatives [are] typical of those
     5 of the class, and [is] satisfied when each class member’s claim arises from the same course
     6 of events, and each class member makes similar legal arguments to prove the defendant’s
     7 liability.” Stearns v. Ticketmaster Corp., 655 F.3d 1013, 1019 (9th Cir. 2011) (internal
     8 citation and quotation marks omitted). “Typicality requires that the named plaintiffs be
     9 members of the class they represent.” Id. at 613 (citing Falcon, 457 U.S. at 156). The
   10 commonality, typicality, and adequacy-of-representation requirements “tend to merge”
   11 with each other. Dukes, 131 S. Ct. at 2551 n.5 (citing Falcon, 457 U.S. at 157-58 n.13).
   12          Plaintiffs’ claims are reasonably coextensive (if not identical) with those of the class
   13 members, as each Plaintiff’s claims arise from the same alleged conduct of Hyundai. Each
   14 Plaintiff owns a vehicle that (1) is within the Settlement Class definition and (2) has an
   15 OCS that has had problems. (Cert. Mot. at 6.) As a result, Plaintiffs have shown that they
   16 are members of the identified class and suffered the same or similar injuries as those of the
   17 class. Finally, their claims are based on the same legal theories: violation of the UCL,
   18 CLRA, and breach of express and implied warranties. (Id.) Thus, typicality is met.
   19             4. Adequacy
   20           Rule 23(a)(4) permits certification of a class action only if “the representative
   21 parties will fairly and adequately protect the interests of the class.” Fed. R. Civ. P.
   22 23(a)(4). “Resolution of two questions determines legal adequacy: (1) do the named
   23 plaintiffs and their counsel have any conflicts of interest with other class members and (2)
   24 will the named plaintiffs and their counsel prosecute the action vigorously on behalf of the
   25 class?” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998), overruled on
   26 other grounds by Dukes, 131 S. Ct. 2541. Plaintiffs do not appear to have any conflicts of
   27 interest with the class members, and they have been involved in this litigation since its
   28

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     1 inception. (See Kearney Decl. ¶ 9, Doc. 82; Moore Decl. ¶ 6, Doc. 83.) Thus, the Court
     2 concludes that Plaintiffs will adequately represent the class.
     3          As to the adequacy of Plaintiffs’ counsel, the Court must consider “(i) the work
     4 counsel has done in identifying or investigating potential claims in the action; (ii)
     5 counsel’s experience in handling class actions, other complex litigation, and the types of
     6 claims asserted in the action; (iii) counsel’s knowledge of the applicable law; and (iv) the
     7 resources that counsel will commit to representing the class.” Fed. R. Civ. P. 23(g)(1)(A).
     8 Based on the Plaintiffs’ counsel’s substantial experience in class-action litigation and their
     9 work in this matter so far, the Court concludes that the adequacy requirements under Rule
   10 23(g) have been met. (See Carey Decl. ¶¶ 2-4, Doc. 79-1; Berman Decl., Doc. 88.) As a
   11 result, the Court will appoint Robert B. Carey and Steve W. Berman, of Hagens Berman
   12 Sobol Shapiro LLP, as class counsel in this matter.1
   13           C. Requirements Under Rule 23(b)
   14           In addition to establishing the elements of Rule 23(a), Plaintiffs must also satisfy
   15 one of the three elements of Rule 23(b). Plaintiffs seeks certification under Rule 23(b)(3),
   16 alleging that common questions predominate over any individual issues that may exist in
   17 this case. (Cert. Mot. at 8.) Under Rule 23(b)(3), a class action may be maintained if: “[1]
   18 the court finds that the questions of law or fact common to class members predominate
   19 over any questions affecting only individual members, and [2] that a class action is
   20 superior to other available methods for fairly and efficiently adjudicating the controversy.”
   21 Fed. R. Civ. R. 23(b)(3) (emphasis added). The Court may consider:
   22           (A) the class members’ interests in individually controlling the prosecution or
                defense of separate actions; (B) the extent and nature of any litigation
   23           concerning the controversy already begun by or against class members; (C) the
   24           desirability or undesirability of concentrating the litigation of the claims in the
                particular forum; and (D) the likely difficulties in managing a class action.
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   27         At the hearing on the instant Motions, the Court informed Plaintiffs’ counsel that the Court
         appoints attorneys, not law firms, to represent classes.
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     1 Id. Plaintiff’s claims satisfy both the predominance and superiority requirements.
     2                1. Predominance
     3         As to the predominance factor, the Supreme Court has explained that it “tests
     4 whether proposed classes are sufficiently cohesive to warrant adjudication by
     5 representation.” Amchem, 521 U.S. at 623. “When common questions present a
     6 significant aspect of the case and they can be resolved for all members of the class in a
     7 single adjudication, there is clear justification for handling the dispute on a representative
     8 rather than on an individual basis.” Hanlon, 150 F.3d at 1022 (quoting 7A Charles Alan
     9 Wright, et al., FEDERAL PRACTICE & PROCEDURE § 1778 (2d ed. 1986)). “Considering
   10 whether ‘questions of law or fact common to class members predominate’ begins, of
   11 course, with the elements of the underlying cause of action.” Erica P. John Fund, Inc. v.
   12 Halliburton Co., --- U.S. ---, 131 S. Ct. 2179, 2184 (2011).
   13          The threshold predominance question in this case is whether California law can be
   14 applied to an entire nationwide class. See Mazza v. Am. Honda Motor Co., 666 F.3d 581,
   15 589-94 (9th Cir. 2012) (analyzing choice of law issues in predominance inquiry). The
   16 parties’ initial submissions are silent on this issue, but after the hearing on these Motions
   17 they provided additional evidence.
   18          Mazza sets forth the framework for applying California law to a nationwide class
   19 action consistent with (1) the Constitution and (2) California’s choice of law rules. The
   20 class action proponent bears the initial burden of demonstrating that California has
   21 “significant contact or significant aggregation of contacts” to the claims of each class
   22 member. Id. at 589 (internal citations omitted). Plaintiffs have carried their initial burden.
   23 They have demonstrated that Hyundai is a California corporation headquartered in
   24 Fountain Valley, California. (Carey Decl. II ¶ 14, Doc. 81.) Hyundai has a “significant
   25 number” of its U.S. support functions in this state, where it establishes policies and
   26 procedures it uses, and tests the products it sells throughout the United States. (Id. ¶ 15.)
   27 Hyundai has a design center in this state. (Id.) Hyundai “handles all marketing, sales,
   28 product development, and administrative services for Hyundai in the USA.” (Id. ¶ 16.)

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     1 Hyundai sells a “significant amount” of its products in California and has approximately
     2 62 dealers in the state. (Id. ¶ 19.) Finally, Hyundai—pursuant to its Sonata recall—had all
     3 dealers remove the passenger seat cushions and send them to an evaluation and repair
     4 facility in California. (Id.) Indeed, this is where Plaintiff Christopher Kearney’s seat was
     5 sent for evaluation. (Id.) Thus, California has “significant contact or significant
     6 aggregation of contacts to the claims of each class member.” Mazza, 666 F.3d at 589.
     7         Having carried their burden, “the burden shifts to the other side to demonstrate that
     8 foreign law, rather than California law, should apply to class claims.” Id. Defendant does
     9 not make any showing that a different jurisdiction’s law should apply. Accordingly,
   10 California law will apply to the Class’ claims.
   11           Predominance is met for the CLRA claim for material omissions. While “the
   12 CLRA requires each class member to have an actual injury caused by the unlawful
   13 practice, causation, on a classwide basis, may be established by materiality. If the trial
   14 court finds that material misrepresentations have been made to the entire class, an
   15 inference of reliance arises as to the class.” Stearns, 655 F.3d at 1022 (internal citation,
   16 quotation marks, and brackets omitted). “This rule applies to cases regarding omissions or
   17 ‘failures to disclose’ as well.” Id.
   18          Under California law, a misrepresentation or omission is material
   19          if a reasonable man would attach importance to its existence or nonexistence
   20          in determining his choice of action in the transaction in question, and as such
               materiality is generally a question of fact unless the fact misrepresented is so
   21          obviously unimportant that the jury could not reasonably find that a reasonable
               man would have been influenced by it.
   22
   23 Id. (quoting In re Steroid Hormone Product Cases, 181 Cal. App. 4th 145, 157 (2010)).
   24          “Where, as here, the alleged misrepresentations are primarily defendant’s failure to
   25 disclose problems with the class vehicles, plaintiffs must show that defendant had a duty to
   26 disclose, which, again, may be proven through materiality. Materiality is determined from
   27 the perspective of the reasonable consumer.” Parkinson v. Hyundai Motor Am., 258
   28 F.R.D. 580, 596 (C.D. Cal. 2008) (internal citation omitted).

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     1         The Parkinson court certified a CLRA class based on the identical questions
     2 Plaintiffs argue predominate in this case:
     3         (1) whether defendant was aware of the alleged defect; (2) whether defendant
               had a duty to disclose its knowledge; (3) whether defendant failed to do so; (4)
     4         whether the alleged failure to disclose would be material to a reasonable
     5         consumer; and (5) whether defendant's actions violated the CLRA.

     6 Id. at 596. As did the Parkinson court, the Court finds that these common questions will
     7 predominate over any individualized issues.
     8         The same questions that will predominate in the CLRA inquiry will predominate in
     9 the UCL inquiry, as well. First, while the class representatives will have to demonstrate
   10 reliance to prevail upon their UCL claim, “a presumption, or at least an inference, of
   11 reliance arises wherever there is a showing that a misrepresentation was material.” In re
   12 Tobacco II Cases, 46 Cal. 4th 298, 327 (2009) (“Tobacco II”). Second, the absent class
   13 members will not have to demonstrate reliance because “relief under the UCL is available
   14 without individualized proof of deception, reliance and injury.” Stearns, 655 F.3d at 1020
   15 (quoting Tobacco II, 46 Cal. 4th at 320). Therefore, predominance is met here because if
   16 materiality is demonstrated, reliance and causation will be presumed across the class. See
   17 Parkinson, 258 F.R.D. at 596.
   18          Plaintiffs’ next claim is for breach of an express warranty—in this case, Hyundai’s
   19 60-month, 60,000-mile warranty. (See SAC ¶ 128; Cert. Mot. at 11.) To prevail on a
   20 breach-of-express-warranty claim, a plaintiff “must prove (1) the seller’s statements
   21 constitute an affirmation of fact or promise or a description of the goods; (2) the statement
   22 was part of the basis of the bargain; and (3) the warranty was breached.” Weinstat v.
   23 Dentsply Int’l, Inc., 180 Cal. App. 4th 1213, 1227 (2010) (internal quotation marks and
   24 citation omitted). “[U] nder California law, a defect that remains ‘latent’ during the useful
   25 life of the product and does not manifest in an actual malfunction will not support a cause
   26 of action for breach of express warranty.” Keegan v. Am. Honda Motor Co., Inc.,
   27 284 F.R.D. 504, 534 (C.D. Cal. 2012) (citing Hicks v. Kaufman & Broad Home Corp., 89
   28 Cal. App. 4th 908, 918 (2001)).

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     1         On the basis of that principle of California law, the Keegan court considered
     2 whether—to establish predominance—under California substantive law, a plaintiff seeking
     3 certification needed to demonstrate that a design defect is “substantially certain to result in
     4 malfunction during the useful life of the product,” id. (quoting Hicks, 89 Cal. App. 4th at
     5 918), or whether a plaintiff need only demonstrate “that all class vehicles have a common
     6 defect.” Id. The Keegan court determined that a plaintiff need not establish at the
     7 certification stage that a design defect is substantially certain to manifest, concluding that a
     8 “merits inquiry will resolve that question in one stroke.” Id. at 536. The Court agrees with
     9 the Keegan court’s analysis. The Hyundai warranty at issue is allegedly uniform across
   10 the class. (Id. ¶ 128.) Thus, common questions will predominate in this inquiry.
   11          Plaintiffs’ final claim is for breach of implied warranty of merchantability, pursuant
   12 to California Commercial Code § 2314. (Id. ¶¶ 136-145.) “Unlike express warranties,
   13 which are basically contractual in nature, the implied warranty of merchantability arises by
   14 operation of law. It does not impose a general requirement that goods precisely fulfill the
   15 expectation of the buyer. Instead, it provides for a minimum level of quality.” Am. Suzuki
   16 Motor Corp. v. Super. Ct., 37 Cal. App. 4th 1291, 1295-96 (1995) (internal quotation
   17 marks and citations omitted). As the Keegan court explained, the “court’s [predominance]
   18 analysis regarding plaintiffs’ express warranty claim dictates the outcome with respect to
   19 their breach of implied warranty claim, since cases such as Hicks have applied the
   20 ‘substantial certainty’ requirement to both express and implied warranty claims.” Keegan,
   21 284 F.R.D. at 537 (citing Hicks, 89 Cal. App. 4th at 917-23). Thus, the Court finds that
   22 Plaintiffs have established predominance as to all of their claims.
   23                 2. Superiority
   24          The Court also finds that a class action would be a superior method of adjudicating
   25 Plaintiffs’ claims. “The superiority inquiry under Rule 23(b)(3) requires determination of
   26 whether the objectives of the particular class action procedure will be achieved in the
   27 particular case.” Hanlon, 150 F.3d at 1023. “This determination necessarily involves a
   28 comparative evaluation of alternative mechanisms of dispute resolution.” Id. Here, each

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     1 member of the class pursuing a claim individually would run afoul of Rule 23’s focus on
     2 efficiency and judicial economy. See Vinole v. Countrywide Home Loans, Inc., 571 F.3d
     3 935, 946 (9th Cir. 2009). Further, litigation costs would likely “dwarf potential recovery”
     4 if each class member litigated individually. Hanlon, 150 F.3d at 1023. “[W]here the
     5 damages each plaintiff suffered are not that great, this factor weighs in favor of certifying a
     6 class action.” Zinser v. Accufix Research Inst., Inc., 253 F.3d 1180, 1198 n.2 (9th Cir.
     7 2001) (quoting Haley v. Medtronic, Inc., 169 F.R.D. 643, 652 (C.D. Cal. 1996)).
     8          Considering the non-exclusive factors under Rule 23(b)(3)(A)-(D), the Court finds
     9 that class members’ potential interests in individually controlling the prosecution of
   10 separate actions and the potential difficulties in managing the class action do not outweigh
   11 the desirability of concentrating this matter in one litigation. See Fed. R. Civ. P.
   12 23(b)(3)(A), (C). This particular forum is desirable because Hyundai is located in
   13 California. See Fed. R. Civ. P. 23(b)(3)(C). The Court is not aware of any litigation
   14 concerning the controversy that has already begun by or against class members. See Fed.
   15 R. Civ. P. 23(b)(3)(B).2
   16
   17       IV. PRELIMINARY APPROVAL OF THE PROPOSED SETTLEMENT
   18           Rule 23(e)(2) requires the Court to determine whether the proposed settlement is
   19 fair, reasonable, and adequate. Fed. R. Civ. P. 23(e)(2). In turn, review of a proposed
   20 settlement typically proceeds in two stages, with preliminary approval followed by a final
   21 fairness hearing. Federal Judicial Center, Manual for Complex Litigation, § 21.632 (4th
   22 ed. 2004).
   23           To determine whether a settlement agreement is fair, adequate, and reasonable, “a
   24 district court must [ultimately] consider a number of factors, including: the strength of
   25 plaintiffs’ case; the risk, expense, complexity, and likely duration of further litigation; the
   26
            2
   27        Trial manageability is not a factor in determining whether to certify a settlement class.
         Amchem Prods., 521 U.S. at 620.
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     1 risk of maintaining class action status throughout the trial; the amount offered in
     2 settlement; the extent of discovery completed, and the stage of the proceedings; the
     3 experience and views of counsel; the presence of a governmental participant;3 and the
     4 reaction of the class members to the proposed settlement.” Staton, 327 F.3d at 959
     5 (internal citation and quotation marks omitted). “The relative degree of importance to be
     6 attached to any particular factor will depend upon and be dictated by the nature of the
     7 claim(s) advanced, the type(s) of relief sought, and the unique facts and circumstances
     8 presented by each individual case.” Officers for Justice v. Civil Serv. Comm’n, 688 F.2d
     9 615, 625 (9th Cir. 1982). “It is the settlement taken as a whole, rather than the individual
   10 component parts, that must be examined for overall fairness, and the settlement must stand
   11 or fall in its entirety.” Staton, 327 F.3d at 960 (quoting Hanlon, 150 F.3d at 1026).
   12            In addition to these factors, where “a settlement agreement is negotiated prior to
   13 formal class certification,” the Court must also satisfy itself that “the settlement is not the
   14 product of collusion among the negotiating parties.” In re Bluetooth Headset Prods. Liab.
   15 Litig., 654 F.3d 935, 946-47 (9th Cir. 2011) (internal citations and quotations omitted).
   16 Accordingly, the Court must look for explicit collusion and “more subtle signs that class
   17 counsel have allowed pursuit of their own self-interests and that of certain class members
   18 to infect the negotiations.” Id. at 947. Such signs include (1) “when counsel receive a
   19 disproportionate distribution of the settlement . . . ,” (2) “when the parties negotiate a
   20 ‘clear sailing’ arrangement providing for the payment of attorneys’ fees separate and apart
   21 from class funds . . . ,” and (3) “when the parties arrange for fees not awarded to revert to
   22 defendants rather than be added to the class fund.” Id.
   23            At this preliminary stage and because class members will receive an opportunity to
   24 be heard on the settlement, “a full fairness analysis is unnecessary . . . .” Alberto v. GMRI,
   25 Inc., 252 F.R.D. 652, 665 (E.D. Cal. 2008). Instead, preliminary approval and notice of
   26
   27      3
               This factor does not apply to the case.
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     1 the settlement terms to the proposed class are appropriate where “[1] the proposed
     2 settlement appears to be the product of serious, informed, non-collusive negotiations, [2]
     3 has no obvious deficiencies, [3] does not improperly grant preferential treatment to class
     4 representatives or segments of the class, and [4] falls with the range of possible approval
     5 . . . .” In re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal. 2007)
     6 (internal quotation marks and citation omitted) (emphasis added); see also Acosta v. Trans
     7 Union, LLC, 243 F.R.D. 377, 386 (C.D. Cal. 2009) (“To determine whether preliminary
     8 approval is appropriate, the settlement need only be potentially fair, as the Court will make
     9 a final determination of its adequacy at the hearing on the Final Approval, after such time
   10 as any party has had a chance to object and/or opt out.”) (emphasis in original).
   11          In any event, the Court evaluates all applicable factors below and finds that the
   12 Settlement Agreement should be preliminarily approved.
   13          A. Arms-length Negotiations
   14           In this case, Plaintiffs’ counsel represents that the parties engaged in extensive,
   15 months-long negotiations, and that those negotiations were at arms-length. (Settle Mot.
   16 Ex. 2, Carey Decl., ¶¶ 2-3, 7, 9, Doc. 73-3; Settle Mot. at 16.) Moreover, the parties went
   17 through two rounds of full briefing on motions to dismiss. (Settle Mot. at 16.) In other
   18 words, this appears to have been a vigorously litigated case. The Fees Notice, (Doc. 75 at
   19 2), does reveal the presence of a “clear sailing” agreement, which the Ninth Circuit warned
   20 was a “subtle sign” of collusion. See In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d
   21 at 946; see also William D. Henderson, Clear Sailing Agreements: A Special Form of
   22 Collusion in Class Action Settlements, 77 Tul. L. Rev. 813 (2003). However, the “clear
   23 sailing” arrangement is mitigated by the fact that the parties negotiated and executed the
   24 Settlement Agreement before the mediation on attorneys’ fees, expenses, and incentive
   25 payments. Thus, the “pot” was established before the parties agreed on a proposed amount
   26 in fees. Moreover, the mediation was conducted by a former judicial officer who works
   27 for a well-regarded alternative dispute resolution services provider. At this point, the
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     1 Court is sufficiently satisfied for the purpose of preliminary approval that the Settlement
     2 Agreement is the result of arms-length, noncollusive, and informed negotiations.
     3         B. Strength of Plaintiffs’ Case and the Amount Offered in Settlement
     4         The crux of Plaintiffs’ claims is that Hyundai knew about and failed to disclose
     5 certain design defects in OCS. (Settle Mot. at 12.) While Plaintiffs assert they would
     6 prevail at trial and upon any necessary appeal, Defendant “has raised and would continue
     7 to raise challenges to the legal and factual basis for such claims.” (Id.) The proposed
     8 settlement expands upon the recall campaign Hyundai started by extending it to additional
     9 vehicle owners and providing additional remedies (if needed) and informational materials.
   10 Thus, at this point, the proposed settlement strikes a balance between Plaintiffs’ claims and
   11 Defendant’s defenses. The Court concludes that the parties’ decision to reach a settlement
   12 in this matter was reasonable.
   13          The offered settlement appears fair and is keyed to repairing the alleged harm. Cf.
   14 Hanlon, 150 F.3d at 1027 (“The settlement presented to the district court obligates
   15 Chrysler to make the minivans safe. This fact alone sets this case apart from [other cases]
   16 in which a settlement agreement was rejected in large measure because it did nothing to
   17 remedy the safety problem with the vehicles.”). Class members will receive additional
   18 materials informing them about the OCS (i.e., providing material information that Hyundai
   19 allegedly omitted). Class members will be entitled to have their OCS fixed via recall. If
   20 the recall does not fix the problem, and the class member so proves (at arbitration , if
   21 needed), the class member will be entitled to a refund of the vehicle price (subject to a
   22 reduction for wear and tear under California’s Lemon Law), or a new Hyundai vehicle in
   23 exchange.
   24          As discussed above, the parties have notified the Court that Plaintiffs will move for
   25 fees and expenses not to exceed $993,000. Before final approval, the court will “scrutinize
   26 closely the relationship between attorneys’ fees and benefit to the class” and will not
   27 “award[] unreasonably high fees simply because they are uncontested.” In re Bluetooth,
   28 654 F.3d at 948 (internal quotation marks and citation omitted). In Plaintiffs’ motion for

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     1 attorneys’ fees, they will need to make a sufficient showing as to attorneys’ fees, litigation
     2 expenses, other related costs, and a service award by the submitted declarations, especially
     3 since not all fees and expenses have been incurred. For example, as to attorneys’ fees,
     4 Plaintiffs’ counsel will need to submit evidence of the hours worked and billing rates.
     5 Moreover, Plaintiffs’ counsel will need to introduce some evidence of the fees, etc., sought
     6 vis-à-vis the expected class award. In the Ninth Circuit, the benchmark for fees is 25% of
     7 the common fund. See, e.g., Hanlon, 150 F.3d at 1029 (“This circuit has established 25%
     8 of the common fund as the benchmark award for attorney fees.”). Plaintiffs’ counsel will
     9 have to justify any upward departure from the Ninth Circuit’s fees benchmark, if one is
   10 sought.
   11          Finally, the amount of the settlement also appears fair, adequate, and reasonable in
   12 light of the claims released by the participating class members and those class members
   13 who fail to exclude themselves from the Settlement Agreement. The proposed agreement
   14 will release class members’ claims only as related to their Class Vehicles, and does not
   15 include damage for personal injury or to property other than the Class Vehicle.
   16 (Settlement Agreement, ¶ 10.1.)
   17          C. Likely Expense and Duration of Further Litigation
   18          Undoubtedly the expense incurred by Plaintiffs and the purported class will increase
   19 as the case progresses. This action has ensued for over two years, and neither side has
   20 brought dispositive motions. Thus, if settlement were not reached, Plaintiffs and potential
   21 class members would likely incur additional costs in conducting further discovery,
   22 defending or bringing dispositive motions, and, if applicable, preparing for and
   23 participating in trial. (See Carey Decl. II ¶ 6; Settle Mot. at 13.) The Court finds that this
   24 factor favors preliminary approval of the Settlement Agreement.
   25          D. Extent of Discovery Completed
   26          This factor requires the Court to evaluate whether “the parties have sufficient
   27 information to make an informed decision about settlement.” Linney v. Cellular Alaska
   28 P’ship, 151 F.3d 1234, 1239 (9th Cir. 1998). Discovery can be both formal and informal.

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     1 See Clesceri v. Beach City Investigations & Protective Servs, Inc., No. CV-10-3873-JST
     2 (RZx), 2011 WL 320998, at *9 (C.D. Cal. Jan. 27, 2011). Here, Plaintiff’s counsel
     3 represents that the parties have engaged in formal and informal discovery during the two-
     4 year litigation, and that Plaintiffs’ counsel has conducted “independent investigations.”
     5 (Carey Decl. II ¶ 5.) Furthermore, Plaintiffs’ counsel represents that during the extensive
     6 settlement negotiations, he “requested additional information from [Hyundai] about the
     7 extent of complaints concerning the OCS,” and that each time he was “provided
     8 information on all matters about which [he] inquired.” (Id. ¶ 10.) With the above in mind,
     9 the Court finds that the parties had sufficient information to make an informed decision
   10 about settlement.
   11          The Court recognizes that settlement occurred before class certification or any other
   12 dispositive motions were filed with the Court. However, the parties have shown that they
   13 have spent significant time investigating this action to allow for an informed decision, but
   14 not so much time that the settlement amount will be unnecessarily depleted by extensive
   15 costs and fees. As a result, the Court finds that this factor favors preliminarily approving
   16 the Settlement Agreement.
   17          E. Risk of Maintaining Class Certification
   18          The parties make passing reference to the risk of litigation, yet they do not provide
   19 the Court with any specific risks of maintaining class certification throughout the
   20 litigation. (See, e.g., Carey Decl. II ¶ 6 (“While I believe that Plaintiffs have valid claims,
   21 I recognize that there is always an element of risk in any litigation.”) Hence, the Court
   22 need not consider this factor for settlement purposes. See In re Veritas Software Corp.
   23 Sec. Litig., No. C-03-0283 MMC, 2005 WL 3096079, at *5 (N.D. Cal. Nov. 15, 2005)
   24 (favoring neither approval nor disapproval of settlement where the court was “unaware of
   25 any risk involved in maintaining class action status”), aff’d in relevant part, 496 F.3d 962
   26 (9th Cir. 2007); Murillo v. Pac. Gas & Elec. Co., No. CIV. 2:08-1974 WBS GGH, 2010
   27 WL 2889728, at *7 (E.D. Cal. July 21, 2010) (favoring neither approval nor disapproval of
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     1 settlement where the court was “unaware of any specific difficulty in maintaining class-
     2 action status were [the] case to continue to trial”).
     3           F. Experience and Views of Counsel
     4           Plaintiffs’ counsel have substantial experience serving as plaintiff’s counsel in class
     5 actions, and they have fully endorsed the Settlement Agreement as fair, reasonable, and
     6 adequate. (Carey Decl. ¶¶ 2, 4, 7 (“I believe that settlement of this action is appropriate
     7 and in the best interests of Hyundai vehicle owners” (emphasis added)).) This factor
     8 weighs in favor of preliminarily approving the Settlement Agreement.
     9           G. Reaction of Class Members to Proposed Settlement
   10             All of the named plaintiffs believe the settlement is fair and recommend approval.
   11 (Kearney Decl. ¶ 11; Moore Decl. ¶ 8.) As of yet, Plaintiffs have not provided evidence of
   12 class members’ reaction to the proposed settlement. However, the Court recognizes that
   13 the lack of such evidence is not uncommon at the preliminary approval stage, and the
   14 parties represent that they “will provide further evidence of the reaction of the class
   15 members before the settlement fairness hearing.” (Settle Mot. at 16.) Plaintiffs’ counsel
   16 shall submit a sufficient number of declarations from class members discussing their
   17 reactions to the proposed settlement. Alternatively, a small number of objections at the
   18 time of the fairness hearing may raise a presumption that the settlement is favorable to the
   19 class. See In re Omnivision Techs., Inc., 559 F. Supp. 2d 1036, 1043 (N.D. Cal. 2008).
   20
   21       V.      PRELIMINARY APPROVAL OF CLASS NOTICE FORM AND
   22               METHOD
   23            For a class certified under Rule 23(b)(3), “the court must direct to class members
   24 the best notice that is practicable under the circumstances, including individual notice to all
   25 members who can be identified through reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B).
   26 However, actual notice is not required. See Silber v. Mabon, 18 F.3d 1449, 1454 (9th Cir.
   27 1994).
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     1         The Settlement Agreement provides that notice will be mailed to every class
     2 member “reasonably ascertainable from an available R.L. Polk database (or a similar
     3 database)” at least 45 days prior to the last date for objections and exclusions. (Settlement
     4 Agreement, ¶ 8.1.) The Supreme Court has found notice by mail to be sufficient if the
     5 notice is “reasonably calculated . . . to apprise interested parties of the pendency of the
     6 action and afford them an opportunity to present their objections.” Mullane v. Cent.
     7 Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950). Accord Sullivan v. Am. Express
     8 Publ’g Corp., No. SACV 09-142-JST (ANx), 2011 WL 2600702, at *8 (C.D. Cal. June 30,
     9 2011) (quoting Mullane).
   10          Plaintiffs have provided the Court with a copy of the original proposed notice and
   11 the amended proposed notice. (Settlement Agreement, Ex. H; Joint Notice Am. Notice,
   12 Ex. A, Doc. 78.) Under Rule 23, the notice must include, in a manner that is
   13 understandable to potential class members: “(i) the nature of the action; (ii) the definition
   14 of the class certified; (iii) the class claims, issues, or defenses; (iv) that a class member
   15 may enter an appearance through an attorney if the member so desires; (v) that the court
   16 will exclude from the class any member who requests exclusion; (vi) the time and manner
   17 for requesting exclusion; and (vii) the binding effect of a class judgment on members
   18 under Rule 23(c)(3).” Fed. R. Civ. P. 23(c)(2)(B). The amended proposed notice includes
   19 this necessary information. (See Joint Notice Am. Notice, Ex. A.)
   20          The Court also requires the Notice to be modified as follows:
   21          (1) A final sentence should be added to the sixteenth numbered section on page 10
   22              of the Notice, stating, “Class Counsel will file a Motion for Attorneys’ Fees,
   23              Litigation Costs and Expenses, and Class Representatives’ Enhancement Award
   24              no later than [insert date], 15 days before the date by which you must mail your
   25              exclusion request, or object to the settlement’s terms.” See In re Mercury
   26              Interactive Corp. Sec. Litig., 618 F.3d 988, 994-95 (9th Cir. 2010) (holding that
   27              district court must set a settlement schedule that provides the class an adequate
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     1            opportunity to review and prepare objections to class counsel’s completed fee
     2            motion).
     3         (2) In numbered section 24 on page 12, the Notice should state that the Motion for
     4            Attorneys’ Fees, Litigation Costs and Expenses, and Class Representatives’
     5            Incentive Award will be available for review as part of the Court’s files in this
     6            matter at the Office of the Clerk of Court or via PACER.
     7         The parties must provide the Court within 10 days of this order an updated copy of
     8 the Notice and related forms reflecting the changes identified above.
     9         Finally, the Court requires that the Motion for Final Approval of the Settlement and
   10 Motion for Attorneys’ Fees, Litigation Costs and Expenses, and Class Representatives’
   11 Enhancement Award be filed with the Court no later than 15 days before the Notice
   12 response deadline. In addition, the parties are required to file with the Court no later than
   13 15 days after the expiration of the Notice response deadline a brief responding to any
   14 submitted objections and otherwise summarizing the class members’ participation in the
   15 Settlement and the settlement administration to date.
   16          In their papers for final approval of the settlement, the parties must include a
   17 declaration reflecting that they provided appropriate notice of the proposed settlement to
   18 relevant state and federal authorities per the terms of 28 U.S.C. § 1715(b) at least 90 days
   19 prior to the date for the final fairness hearing. 28 U.S.C. § 1715(d). True v. Am. Honda
   20 Motor Co., 749 F. Supp. 2d 1052, 1059 n.5 (C.D. Cal. 2010) (recognizing that the Class
   21 Action Fairness Act “requires that notice [of a proposed settlement] be sent to ‘the
   22 appropriate State official of each State in which a class member resides and the appropriate
   23 Federal official.’” (quoting 28 U.S.C § 1715(b)).
   24
   25      VI. CONCLUSION
   26          Accordingly, the Court: (1) conditionally certifies the class, and appoints
   27 Christopher Kearney, Nancy Kearney, Charles Moore, and Shari Moore as settlement class
   28 representatives and Robert B. Carey and Steve W. Berman, Hagens Berman Sobol Shapiro

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     1 LLP, as settlement class counsel; (2) preliminarily approves the Settlement Agreement;
     2 and (3) approves the form and method of class notice with the modifications outlined in
     3 this order.
     4         The Court sets a fairness hearing for June 7, 2013, at 2:30 p.m., to determine
     5 whether the Settlement Agreement should be finally approved as fair, reasonable, and
     6 adequate to class members.
     7         Defendant must cause individual notice to be mailed via first-class mail to all
     8 reasonably identifiable current owners of Class Vehicles on or before March 15, 2013.
     9 For purposes of identifying current address information for Class Vehicle owners, R.L.
   10 Polk & Company is hereby authorized to provide the names and most current addresses of
   11 Class Vehicle owners to Defendant or its designee. Any governmental agency in
   12 possession of names or addresses of Class Vehicle owners is hereby authorized and
   13 directed to relate that information to R.L. Polk & Company for use solely in connection
   14 with providing notice to the Class.
   15          Plaintiffs’ counsel shall file all additional supporting documentation noted by the
   16 Court and brief(s) supporting final approval of the Settlement Agreement, an award of
   17 reasonable attorneys’ fees and costs, and an award of a reasonable class representative
   18 incentive fee no later than April 25, 2013.
   19          Class members must mail any letter (1) objecting to the proposed settlement, (2)
   20 electing to exclude themselves from the Class, or (3) stating their intention to appear at the
   21 Fairness Hearing on or before May 10, 2013.
   22           Plaintiffs’ counsel shall file a brief in response to any objections by class
   23 members, which also summarizes the settlement administration to date, on or before May
   24 24, 2013.
   25          This preliminary approval order is also conditioned upon the parties providing the
   26 Court within 10 days of this order an updated copy of the Notice and related forms
   27 reflecting the changes identified above.
   28

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     1         The Court reserves the right to continue the date of the fairness hearing without
     2 further notice to class members. The Court retains jurisdiction to consider all further
     3 applications arising out of or in connection with the Settlement Agreement.
     4
     5
     6 DATED: December 17, 2012
     7                                     _________________________________________
                                                  JOSEPHINE STATON TUCKER
     8                                            UNITED STATES DISTRICT JUDGE
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